Case 19-50920 Doci1_ Filed 07/10/19 Entered 07/10/19 15:26:02

Fill in this information to identify your case:

Page 1 of 8

 

United States Bankruptcy Court for the:

District of Connecticut
:
| Case number (i known):

 

Chapter you are filing under:

Chapter 7
OQ Chapter 11
O) Chapter 12
QO Chapter 13

 

pe "Gheck if this is an
amended filing

  

°g

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

12/17

 

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

| Part 4: | Identify Yourself

4. Your full name

Write the name that is on your
government-issued picture
identification (for example,
your driver's license or
passport).

Bring your picture
identification to your meeting
with the trustee.

 

 

 

About Debtor 1: About Debtor 2 (Spouse Only in:a Joint Case):
John

First name First name

Joseph

Middle name Middle name

Burkhardt

Last name Last name

Jr.

Suffix (Sr., Jr., ,

Suffix (Sr., Jr., HL, ill)

 

 

 

 

 

 

 

 

(ITIN)

 

2. All other names you Jay
have used in the last 8 First name First name
years
Include your married or Middle name Middle name
maiden names. Burkhardt
Last name Last name
John
First name First name
J.
Middle name Middle name
Burkhardt Jr. ;
Last name Last name
3. Only the last 4 digits of
your Social Security wx -xx-_ 6 O 4 2 OO XK
number or federal OR OR
Individual Taxpayer
Identification number 9x - xx - Dx — x -

 

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

page 1
 

 

 

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Debtor 1 John J . Burkhardt Jr Case number (if known)
First Name Middie Name Last Name
About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):

4. Any business names
and Employer
Identification Numbers
(EIN) you have used in
the last 8 years

Include trade names and
doing business as names

C1 | have not used any business names or EINs.

LJ I have not used any business names or EINs.

 

Business name

Business name

 

Business name

EIN”

EIN”

Business name

EN”

EN

 

5. Where you live

146 Culloden Road

 

 

If Debtor 2 lives at a different address:

 

 

 

 

 

Number Street Number Street

Stamford CT 06902

City State ZIP Code City State ZIP Code
Farfreld a4

County mw * County

If your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices fo you at this mailing address.

 

 

’ If Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

 

 

 

 

 

Number Street Number Street

P.O. Box P.O. Box

City State ZIP Code City State ZIP Code
6. Why you are choosing Check one: Check one:

this district to file for

a Over the last 180 days before filing this petition,

 

 

 

 

CJ Over the last 180 days before filing this petition,

 

 

 

 

 

 

bankruptcy | have lived in this district longer than in any | have lived in this district longer than in any
other district. other district.
L] | have another reason. Explain. LJ I have another reason. Explain.
(See 28 U.S.C. § 1408.) (See 28 U.S.C. § 1408.)
Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 2
Debtor 1

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John J.

Page 3 of 8

Burkhardt Jr

Case number (if known),

 

First Name

Middie Name

Last Name

a Tell the Court About Your Bankruptcy Case

7.

The chapter of the
Bankruptcy Code you
are choosing to file
under

Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for individuals Filing
for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.

2 Chapter 7

(2 Chapter 11
LJ Chapter 12
C) Chapter 13

 

How you will pay the fee

| will pay the entire fee when | file my petition. Please check with the clerk’s office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. If your attorney is
submitting your payment on your behaif, your attorney may pay with a credit card or check
with a pre-printed address.

( | need to pay the fee in installments. If you choose this option, sign and attach the
Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

(1 | request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

 

 

 

 

 

9. Have you filed for ONo
bankruptcy within the
last 8 years? Yes. District wren 98/08/2017 case number 17-50967
MM/ DD/YYYY
District When Case number
MM / DD /YYYY
District When Case number
MM / DD/YYYY
10. Are any bankruptcy No
cases pending or being
filed bya spouse whois 41 Yes. Debtor Relationship to. you
not filing this case with District When Case number, if known
you, or by a business MM/DD /YYYY
partner, or by an
affiliate?
Debtor Relationship to you
District When Case number, if known
MM/DD/YYYY
11. Do you rent your WANo. Goto line 12.
i ? : ant .
residence? Q Yes. Has your landlord obtained an eviction judgment against you?

Official Form 101

C3 No. Go to line 12.

CQ Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
part of this bankruptcy petition.

Voluntary Petition for Individuals Filing for Bankruptcy page 3
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Debtor 1 J oh n J “ B u rkharat J r Case number (if known),

 

 

First Name Middie Name Last Name

Er Report About Any Businesses You Own as a Sole Proprietor

 

12. Are youa sole proprietor () No. Go to Part 4.
of any full- or part-time
business? i Yes. Name and location of business

A sole proprietorship is a
business you operate as an
individual, and is not a

 

Name of business, if any

 

 

 

separate legal entity such as 2700 Summer Street
a corporation, partnership, or
LLC. Number Street
If you have more than one Suite 700
sole proprietorship, use a
separate sheet and attach it Stamford CT 06905
to this petition. =
City State ZIP Code

Check the appropriate box to describe your business:

CJ Health Care Business (as defined in 11 U.S.C. § 101(27A))

C) Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B)) —
LJ Stockbroker (as defined in 11 U.S.C. § 101(53A))

QO Commodity Broker (as defined in 11 U.S.C. § 101(6))

WW None of the above

 

13. Are you filing under if you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
: Chapter 11 of the can set appropriate deadlines. If you indicate that you are a smail business debtor, you must attach your
Bankruptcy Code and most recent balance sheet, statement of operations, cash-flow statement, and federal income tax retum or if

are you a small business any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

debtor? Sno 1 am not filing under Chapter 11

For a definition of smalf , 9 P ,

business debtor, see LI No. {am filing under Chapter 11, but | am NOT a small business debtor according to the definition in
11 U.S.C. § 101(51D). the Bankruptcy Code.

C] Yes. lam filing under Chapter 11 and | am a small business debtor according to the definition in the
Bankruptcy Code.

Ea Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

 

14. Do youownorhaveany (No
property that poses or is

 

alleged to pose a threat OQ) Yes. What is the hazard?
of imminent and
identifiable hazard to

 

public health or safety?
Or do you own any

property that needs {f immediate attention is needed, why is it needed?

 

immediate attention?
For example, do you own

 

perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Where is the property?

 

Number Street

 

 

City State ZIP Code

Official Form 101 Voluntary Petition for individuals Filing for Bankruptcy page 4
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Debtor 1 John _ J.

First Name Middle Name

Burkhardt Jr

Last Name

Case number (if known)

Eo Explain Your Efforts to Receive a Briefing About Credit Counseling

 

. 15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 101

About Debtor 1:

You must check one:

i | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

C) | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

C) | certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

C2 1am not required to receive a briefing about
credit counseling because of:

) Incapacity. { have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

CJ Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

L) Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for Individuals Filing for

About Debtor 2 (Spouse Only in a Joint Case):

You must check one:

(J | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and I received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

L] | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankrupicy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

C1 1 certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

C1 am not required to receive a briefing about
credit counseling because of:

Q Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

L] Disability. | My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

Cl Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

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John J.

First Name

Debtor 1

 

16. What kind of debts do
you have?

Middie Name

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Burkhardt Jr

Last Name

Case number (i known),

4 § Answer These Questions for Reporting Purposes

16a. Are your debts primarily consumer debts? Consumer debts are defined i in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose.”

C2) No. Go to line 16b.
Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

Cl No. Go to fine 16c.
(Q Yes. Go to fine 17.

16c. State the type of debts you owe that are not consumer debts or business debts.

 

 

“47. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is

LI No. 1 am not filing under Chapter 7. Go to line 18.

4 Yes. | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

 

 

excluded and No
administrative expenses
are paid that funds will be CI Yes
available for distribution
to unsecured creditors?
18. How many creditors do 1-49 C} 4,000-5,000 LY 25,001-50,000
you estimate that you C} 50-99 J 5,001-10,000 (2 50,001-100,000
owe? () 100-199 C) 10,001-25,000 CJ More than 100,000
CJ 200-999
19. How much do you CI $0-$50,000 LY $1,000,001-$10 million CJ $500,000,001-$1 billion

estimate your assets to
be worth?

20. How much do you
estimate your liabilities
to be?

i Sign Below

 

For you

 

Official Form 101

C] $50,001-$100,000
$100,001-$500,000
(J $500,001-$1 milfion

L) $0-$50,000

C} $50,001-$100,000
CL] $100,001-$500,000
J $500,001-$1 million

CI $10,000,001-$50 million
CY $50,000,001-$100 million

() $100,000,001-$500 million

C] $1,000,001-$10 million

CJ $10,000,001-$50 million
(1 $50,000,001-$100 million
C} $100,000,001-$500 million

LI $1,000,000,001-$10 billion
12 $10,000,000,001-$50 billion
CJ More than $50 billion

C2 $500,000,001-$1 billion

(2 $1,000,000,001-$10 billion
CJ $10,000,000,001-$50 billion
() More than $50 billion

| have examined this petition, and | declare under penalty of perjury that the information provided is true and

correct.

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. | understand the relief available under each chapter, and | choose to proceed

under Chapter 7.

If no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

KOLO Pulahurdt),  *

& ignature of | Debtor 1

 

Signature of Debtor 2

 

Executed on 07/08/2001 Executed on

MM / DD IYYYY MM / DD IYYYY

     

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Debtor 1 John J : Burkhardt Jr Case number (i known)

First Name. Middle Name Last Name
For you if you are filing this The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an should understand that many people find it extremely difficult to represent
attorney themselves successfully. Because bankruptcy has long-term financial and legal

consequences, you are strongly urged to hire a qualified attorney.

If you are represented by
an attorney, you do not To be successful, you must correctly file and handle your bankruptcy case. The rules are very

need to file this page. technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

If you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

LI No

W@ Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

CI No

Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
Wi No

CI Yes. Name of Person :
Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. |
have read and understood this notice, and | am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if | do not properiy handie the case.

 

 

* ate IC iadibadle] x

ignature of Detfor 4 Signature of Debtor 2
Date 07/08/2019 Date
MM/DD /YYYY MM/ DD /YYYY
Contact phone [ 223) SO S~- 5 32 27 Contact phone

 

 

 

Cell phone @e3) Sco -#&S U6 Cell phone _

 

Email address of aybe rk bia rndff @ a bEY (eral, wines

   

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Radius Global Solutions
7831 Glenroy Road Suite 250
Edina, MN 55439

ATTN } Manag er

Internal Revenue Services
Centralized Insolvency Operation
P.O. Box 7346

Philadelphia, PA 19101-7346

Anw ! Mane sey

McCalla Raymer Leibert Pierce, LLC
50 Weston Street
Hartford, CT06120

ATM: Men aS SI

MTGLO Investors, LP
200 West Street

New York, NY 10282
ASTANA } Maraszer
Stamford WPCA

111 Harborview Avenue
Stamford, CT 06902

47 02! Me 195.6
